       Case 3:11-cv-04454-SI    Document 28       Filed 09/26/14   Page 1 of 6



 1   PHILLIP A. TREVIÑO [SBN 121119]
     137 N. Larchmont Blvd., #801
 2   Los Angeles, California 90004
     Telephone: (213) 949-8000
 3
     Attorney for Petitioner
 4   ERNEST DYKES
 5
 6                             UNITED STATES DISTRICT COURT
 7                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8
 9   ERNEST DYKES,                            )   Case No. 11-CV-04454-SI
                                              )
10              Petitioner,                   )   MOTION FOR JUDICIAL NOTICE UNDER
                                              )   RULE 201 OF THE FEDERAL RULES OF
11                    v.                      )   EVIDENCE; EXHIBITS
                                              )
12   KEVIN CHAPPELL, Warden,                  )
                                              )
13             Respondent.                    )   DEATH PENALTY CASE
     ______________________________           )
14
15        Petitioner hereby moves this Honorable Court to take judicial
16   notice of the proceedings heard in the U.S. District Court for the
17   Central District of California, Jones v. Chappell, CV 09-2158-CJC.
18   Petitioner asks this Court to take judicial notice of the entire
19   course of those proceedings, but in particular he asks this Court
20   to take notice of the exhibits submitted herewith:
21        Exhibit A      -     Docket from Jones v. Chappell, CV 09-2158-CJC
                               U.S. District Court, Central District of CA
22
          Exhibit B      -     Petitioner’s Opening Brief on Claim 27
23
          Exhibit C      -     Exhibits in Support of Claim 27, Vol. 1
24
          Exhibit D      -     Exhibits in Support of Claim 27, Vol. 2
25
          Exhibit E      -     Exhibits in Support of Claim 27, Vol. 3
26
          Exhibit F      -     Order, conveying chart of 496 condemned
27                             inmates sentenced to death in California
                               between 1978 and 1997
28
       Case 3:11-cv-04454-SI    Document 28       Filed 09/26/14   Page 2 of 6



 1        Exhibit G      -     Chart, distributed by court with Exhibit F
 2        Exhibit H      -     Declaration of Michael Laurence re corrected
                               data
 3
          Exhibit I      -     Corrected Data
 4
          Exhibit J     - Order declaring California’s Death Penalty
 5                    System Unconstitutional
 6        Petitioner brings this motion for judicial notice in
 7   conjunction with his contemporaneously filed motions for leave to
 8   amend his pending petition for a writ of habeas corpus as well as
 9   his motion to have this matter held in abeyance or bifurcated
10   pending a final decision in Jones v. Chappell on the
11   constitutionality of California’s death penalty system.
12        This motion is based upon the attached memorandum of points
13   and authorities, and such further evidence or argument as may
14   properly be brought to this Honorable Court’s attention.
15
16                                                  Respectfully submitted,
17   Dated: September 26, 2014                      s/Phillip A. Treviño
                                                    Attorney at Law
18                                                  Counsel for Petitioner
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       Case 3:11-cv-04454-SI   Document 28       Filed 09/26/14    Page 3 of 6



 1                     MEMORANDUM OF POINTS AND AUTHORITIES
                                        I.
 2                              STATEMENT OF FACTS
 3        Petitioner is under sentence of death in the State of
 4   California for crimes that he committed in July, 1993.                      He was
 5   sentenced to death by the Superior Court for Alameda County on
 6   December 22, 1995. (RT 4091)
 7        That same year Ernest Jones was also condemned to death in the
 8   State of California.       (Exhibit J, p.1)
 9        Petitioner waited approximately four and a half (4.5) years,
10   until April 6, 2000, for the State to appoint counsel to represent
11   him in his direct appeal.      Then, on June 15, 2009, almost fourteen
12   (14) years after he was sentenced to death, the California Supreme
13   Court affirmed Petitioner’s conviction.                People v. Dykes, 46
14   Cal.4th 731 (Cal. 2009).       Certiorari was denied by the U.S.
15   Supreme Court on January 11, 2010.                 Petitioner accordingly spent
16   over fourteen (14) years litigating his direct appeal before the
17   California Supreme Court, the high-end of the average 12 to 14
18   years most individuals on California’s death row spend.                     Exhibit
19   J, p. 14.
20        Petitioner had habeas counsel appointed on December 8, 2000,
21   four and a half (4.5) years after he was sentenced to death and
22   while he was litigating his direct appeal.                   His habeas counsel in
23   state court filed a state habeas petition on July 6, 2004.                     Over
24   seven (7) years later, on August 31, 2011, the California Supreme
25   Court ruled on and denied in full that petition.                   No hearing was
26   held in that proceeding, and no briefing was provided to the
27   California Supreme Court in that proceeding beyond informal
28                                           Page -3-
       Case 3:11-cv-04454-SI   Document 28       Filed 09/26/14    Page 4 of 6



 1   briefing.
 2         Petitioner had federal habeas counsel appointed in December,
 3   2010, and one year later filed his petition for a writ of habeas
 4   corpus in this Court on December 21, 2011.                   Therein he included a
 5   claim that “California’s death penalty scheme is fundamentally
 6   flawed in numerous respects, both on its face and as applied to
 7   Petitioner.” (Petition, ¶¶ 112-201)                Within that claim, Petitioner
 8   further alleged that “Imposition of the death penalty in California
 9   is today a violation of the federal constitution’s prohibition
10   against cruel and unusual punishment.”               (¶¶ 193- 201)
11         In Jones v. Chappell, the U.S. District Court, Judge Cormac J.
12   Carney, presiding, noted that Jones had also been sentenced to
13   death in 1995, had direct appeal counsel appointed four (4) years
14   later, and had spent in total about eight (8) years litigating his
15   direct appeal before the California Supreme Court.                    (Exhibit J, at
16   14)   This contrasts with the fourteen (14) years it took for
17   Petitioner’s conviction to become final.
18         Jones’s state habeas counsel was not appointed until five (5)
19   years after he was sentenced to death, and his state habeas counsel
20   continues to represent him in federal court. (Id.)                  This is another
21   contrasting point with Petitioner’s case: Petitioner’s state habeas
22   counsel did not continue to handle the matter into federal court,
23   so that Petitioner’s federal counsel was required to familiarize
24   himself with the entire course of the prior proceedings and prepare
25   and file the federal petition more rapidly than any of the prior
26   counsel had done in this matter.
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28                                           Page -4-
       Case 3:11-cv-04454-SI   Document 28       Filed 09/26/14   Page 5 of 6



 1                                        II.
                                        THE LAW
 2
 3        Rule 201 of the Federal Rules of Evidence provides, in
 4   pertinent part, as follows:
 5              A judicially noticed fact must be one that is not
 6        subject to reasonable dispute in that it is either (1)
 7        generally known within the territorial jurisdiction of
 8        the trial court or (2) is capable of accurate and ready
 9        determination by resort to sources whose accuracy cannot
10        reasonably be questioned.
11   Fed.R.Evid. 201(b).
12        Under Rule 201, a court may take judicial notice of “court
13   filings” and "matters of public record." Rey’n Pasta Bella LLC v.
14   Visa USA, Inc., 442 F.3d 741, 746 (9th Cir. 2006); Burbank-
15   Glendale-Pasadena Airport Auth. v. City of Burbank, 136 F.3d 1360,
16   1364 (9th Cir. 1998); Mack v. South Bay Beer Distrib., 798 F.2d
17   1279, 1282 (9th Cir. 1986).
18        The records at issue herein are judicial records, and
19   accordingly may properly be the subject of judicial notice.
20
21                                       III.
                                      CONCLUSION
22
23        Contemporaneous with this motion, Petitioner seeks to amend
24   his petition to allege specifically that the California death
25   penalty system is constitutionally flawed for the numerous and
26   detailed reasons articulated by U.S. District Judge Carney in Jones
27   v. Chappell, Exhibit J, and in support thereof Petitioner seeks to
28                                           Page -5-
       Case 3:11-cv-04454-SI   Document 28       Filed 09/26/14   Page 6 of 6



 1   incorporate the evidence and findings presented in the accompanying
 2   exhibits.
 3        Accordingly he asks this Honorable Court to take judicial
 4   notice of the attached exhibits.
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 6                                      Respectfully submitted,
 7
 8   Dated: September 26, 2014          s/Phillip A. Treviño
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